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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


United States of America,

                 Plaintiff,             Case No. 18-cr-20594
vs.                                     Honorable Laurie J. Michelson

D-3 Andrew Adcock,

                 Defendant.


                          Certificate of Service


      I hereby certify that on July 16, 2019, service was made by

Paralegal Terence O’Connell upon the following individual(s) of the

Notice of Preliminary Order of Forfeiture via first-class and certified

U.S. Mail to:

Jamie J. McDaniel                      Joemar L. Black
519 Carrill Ct., Apt. 1                4114 Marvin
Flint, MI 48503                        Flint, MI 48505



                                        s/Shankar Ramamurthy
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